           CASE 0:22-cr-00222-NEB-TNL Doc. 151 Filed 06/12/24 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                              Case No. 22-CR-222 (NEB/TNL)

                             Plaintiff,

      v.                                                   MOTION TO JOIN
                                                        GOVERNMENT’S MOTION
KHADAR JIGRE ADAN,                                       TO CONTINUE TRIAL

                            Defendant.




       Khadar Jigre Adan, by and through his undersigned attorneys, respectfully joins

the Government’s motion to continue his present case from the August 19, 2024 trial

date. [Dkt. 150] Adan agrees with the Government’s concern that the recent events

concerning alleged juror bribery will generate significant pretrial publicity that would be

highly prejudicial to Adan’s case. Adan joins in the government’s request to continue the

date of his trial to a date to be set in the future.

Dated: June 12, 2024                          Respectfully submitted,

                                                   /s/ William J. Mauzy
                                              William J. Mauzy (#68974)
                                              William R. Dooling (#0402244)
                                              Mauzy Law Office, PA
                                              650 Third Avenue South
                                              Suite 260
                                              Minneapolis, MN 55402
                                              (612) 340-9108
                                              wmauzy@mauzylawfirm.com
                                              wdooling@mauzylawfirm.com
                                              Attorneys for Defendant
